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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   FERYAL MOHAMMAD and WAJDAN
   MOHAMMAD,

    Plaintiff/Petitioner,

   v.                                                         CASE NO.: 1:18-CV-23100-UU

   DISCOVER BANK,

    Defendant.

                                                /

          JOINT STIPULATION TO ARBITRATE CLAIMS, STAY LAWSUIT AND
                        ADMINISTRATIVELY CLOSE CASE

            Plaintiffs, Feryal and Wajdan Mohammad, and Defendant, Discover Products, Inc.,

    improperly named as Discover Bank (collectively, "Parties"), by and through undersigned

    counsel and pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby

    stipulate to arbitrate this matter with the AAA, and further stipulate to the entry of the

    attached proposed order staying this lawsuit and administratively closing the case pending

    the conclusion of arbitration.

    /s/ Christopher W. Boss                     /s/ Jacqueline Simms-Petredis
    Christopher W. Boss, Esq. (FBN 13183)       Jacqueline Simms-Petredis, Esq. (FBN 906751)
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                                                Attorneys for Discover
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                                 CERTIFICATE OF SERVICE

           I hereby certify that on this 5th day of September, 2018, I electronically filed the
    foregoing via CM/ECF, which will send a notice of electronic filing to the following:

    Christopher William Edwin Boss
    Boss Law
    9887 4th Street N, Suite 202
    St. Petersburg, FL 33702
    cpservice@bosslegal.com
    Attorney for Plaintiff

                                               /s/ Jacqueline Simms-Petredis
                                               Jacqueline Simms-Petredis
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
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   FERYAL MOHAMMAD and WAJDAN
   MOHAMMAD,

    Plaintiff/Petitioner,

   v.                                                           CASE NO.: 1:18-CV-23100-UU

   DISCOVER BANK,

    Defendant.
                                                         /

        ORDER GRANTING JOINT STIPULATION TO ARBITRATE CLAIMS, STAY
                LAWSUIT AND ADMINISTRATIVELY CLOSE CASE

            THIS CAUSE came before the Court on the parties' Joint Stipulation to Arbitrate

    Claims, Stay Lawsuit and Administratively Close Case. The Court has reviewed the Joint

    Stipulation and case file and is otherwise fully advised in the premises, and hereby

    ORDERS:

            1.      The Court GRANTS the Motion, compels this matter to arbitration and stays

    the matter pending the conclusion of arbitration. The Clerk is directed to administratively

    close this matter.

            2.      The Parties have agreed to arbitrate this matter with the AAA.

            DONE AND ORDERED in Miami, Florida on _____________________, 2018.




                                                 Hon. Ursula Ungaro
                                                 United States District Judge
